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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                            BUTTE DIVISION

                                                            ORDER
 IN RE: REASSIGMENT OF
 BUTTE CIVIL CASES



      IT IS HEREBY ORDERED that the following cases are REASSIGNED

to the Honorable Dana L. Christensen for all further proceedings.

2:22-cv-00026-BMM        Estate of Daniel Keith Ross v. Gallatin County
2:22-cv-00084-BMM        Inman v. Depuy Synthes et al
2:23-cv-00002-BMM        Center for Biological Diversity et al v. Haaland et al
2:23-cv-00013-BMM        Chaykin v. Montana CVS Pharmacy, LLC et al
2:23-cv-00015-BMM        Hughes v. Ridley USA
2:23-cv-00022-BMM        Dalby v. Universal Protection Service, LP
2:23-cv-00037-BMM        Magee v. FedEx Freight
2:23-cv-00038-BMM        Merenz v. GEICO General Insurance Company et al
2:23-cv-00041-BMM        Nell v. Auto Owners Insurance Company
2:23-cv-00047-BMM        Scheetz v. State Farm Fire and Casualty Company et al
2:23-cv-00058-BMM        Satterwhite v. Sedgwick Claims Management Services, Inc. et al
2:23-cv-00067-BMM        Lazy J Ranches Limited Partnership v. U.S. Forest Service
2:23-cv-00069-BMM        Wheeler v. Polymer80
2:23-cv-00073-BMM        Arnone v. Big Sky CannEx
2:23-cv-00075-BMM        Short v. Progressive Northwestern Insurance Company
2:23-cv-00082-BMM        Baker et al v. City of Bozeman et al
2:23-cv-00086-BMM        Incline Ranch, LLC v. USA
2:23-cv-00090-BMM        Gaughan v. Sunbeam Products, Inc. et al
2:24-cv-00001-BMM        Murack v. Farmers Alliance Mutual Insurance Company




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      IT IS FURTHER ORDERED that the following cases are REASSIGNED

to the Honorable Donald W. Molloy for all further proceedings.

2:24-cv-00002-BMM        Hanover Insurance Co. v. Bozeman Real Estate Group
2:24-cv-00004-BMM        Yelenich v. Mission Senior Living, LLC et al
2:24-cv-00006-BMM        Oak Place Northeast Bozeman, LLC v. Conti Bozeman, LLC
2:24-cv-00010-BMM        Joe Hand Promotions, Inc. v. Mountain High Holdings, LLC

      The clerk shall file a copy of this Order in each of the above referenced

cases and provide a copy to Judge Christensen and Judge Molloy.

      DATED this 20th day of February, 2024.




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